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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               May 05, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                     |
JENNIFER STEELE,                                     |
                                                     |
v.                                                   | Case No.: 4:22-cv-509
                                                     |
TURTLE CREEK ASSETS, LTD.,                           |
and GORDON ENGLE, individually                       |
      Defendants.                                    |
                                                     |

           ORDER GRANTING MOTION FOR CONTINUANCE OF THE
        MAY 6, 2022 INITIAL PRETRIAL AND SCHEDULING CONFERENCE
                    AND FOR EXTENSION OF TIME TO FILE
          PROPOSED JOINT DISCOVERY/CASE MANAGEMENT PLAN

       Before the Court is the Motion For Continuance of May 6, 2022 Initial Pretrial and

Scheduling Conference and For Extension of Time to File Proposed Joint Discovery/Case

Management Plan of Plaintiff Jennifer Steele. Having considered the motion and the supporting

facts, the Court finds that the Motion should be and hereby is GRANTED. The parties shall

appear for an initial case management conference on June 17, 2022 at 9:30 a.m. and shall file at

least ten (10) days prior thereto a Joint Discovery/Case Management Plan containing the

information required by the original Order of February 17, 202
                                                            00222.
                                                           2022.


Signed: May 5, 2022
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                                                                        ____ _____________
                                                                        ____         _
                                                     HON.
                                                      ON. ALFRED H. B   BENNETT
                                                                          ENNETT
